Case 1:01-cv-00879-JAR Document1 Filed 10/15/01 Page 1 of 10

FORM 1°

UNITED STATES COURT OF INTERNATIONAL TRADE

His IRDEX HUMBER MUST

oe BE Suowll ON ALL PAPERS

eflep WITH THe COURT

MITZI INTERNATIONAL, .
Plaintiff, g1-00879
V. ecuRT OF
meni) Si
UNITED STATES, LEOM Re NAL -
Defendant.
we ee ee x SUMMONS

TO: THE ATTORNEY GENERAL AND THE SECRETARY OF THE TREASURY

PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C. § 1581(a)
to contest the denial of the protest specified below (and the protest’ ‘listed on the

attached schedule).

 

LEO M. GORDON, CLERK OF THE COURT

 

PROTEST

 

 

 

 

 

Port

ory: Terminal Island pare ETOFESE 1-19-00

p ee ne schredutes)- {See Were,
rotest Date Protest

Number: of al Oe OO SShedule) Denied: (Sse att iched schedule)

Importer: Mitzi International

 

Category of
Merchandise:

 

 

 

Soft-sided Insulated Coolers and Cosmetic Bags

 

 

 

ENTRIES INVOLVED IN ABOVE PROTEST

Entry Date of

2704-442- 12-26-98

1512746-3

Date of
Number Entr Liquidation

11-05-99

 

Entry Date of Date of
Number Entr Liquidation

 

Port Director

U.S. Customs Service

300 South Ferry Street
Terminal Island, CA 90731

 

 

Serko & Simon LLP

666 Fifth Avenue, 16™ Floor
New York, NY 10103
646-496-1670

 

Address of Customs District in Which
Protest Was Denied

(See reverse side)

 

Name, Address and Telephone Number of
Plaintiff’s Mo

205 hes
Case 1:01-cv-00879-JAR Document1 Filed 10/15/01 Page 2 of 10

Page 2
CONTESTED ADMINISTRATIVE DECISION

 

APPRAISED VALUE OF MERCHANDISE
__ STATUTORY BASIS STATEMENT OF VALUE

JAVHOTHO

Protest Claim:

 

 

Appraised:

costa

i.

 

 

 

 

 

 

CLASSIFICATION, RATE OR AMOUNT

ASSESSED PROTEST CLAIM
Item or Item or
Merchandise Heading Number Rate Heading Number Rate

soft-sided 6307 .90.9989 12 3924.10.50 3.42%
insulated coolers or

3924.90.55

 

 

 

cosmetic bags 4202 .92.4500 20% 4202.32.1000 12.1¢/kg + 4.6%

 

 

 

 

 

 

 

 

 

OTHER

State specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest
Claim:

 

 

The issue which was common to all such denied protests:
Whether the insulated coolers are classifiable under 3924.

Whether cosmetic bags are classifiable under subheading 4202.32.1000.

 

 

 

Every denied protest included in this civil action was filed by the same above-named
importer, or by an authorized person on the importer’s behalf. The category of merchan-
dise specified above was involved in each entry of merchandise included in every such
denied protest. The issue or issues stated above were common to all such denied protests.
All such protests were filed and denied as prescribed by law. All liquidated duties,
charges or exactions have been paid, and were paid at the port of entry unless otherwise

shown.
}0-15-0 | / hag Md,
Date ignature of Pia#ntift’s Attorney

 

 
Case 1:01-cv-00879-JAR Document1 Filed 10/15/01 Page 3 of 10

Page 1 SCHEDULE OF DENIED PROTESTS 10/12/01
Port of Entry:2704-LA-LB SEAPORT

Importer: MITZI INTERNATIONAL

Protest # Date Filed Date Denied Entry Number Entry Date Liquidated
2704-00-100103 01/19/00 05/29/01 44215127463 12/26/98 11/05/99
2704-00-100284 02/07/00 06/12/01 44215135722 01/02/99 11/12/99
2704-00-100424 03/08/00 06/29/01 44215143478 01/11/99 11/26/99
2704-00-100424 03/08/00 06/29/01 44215149822 01/17/99 12/03/99
2704-00-100424 03/08/00 06/29/01 44215163310 01/25/99 12/10/99
2704-00-100424 03/08/00 06/29/01 44215168798 02/02/99 12/17/99
2704-00-100424 03/08/00 06/29/01 44215177195 02/06/99 12/17/99
2704-00-100424 03/08/00 06/29/01 44215188226 02/13/99 12/27/99
2704-00-100424 03/08/00 06/29/01 44215188259 02/13/99 12/27/99
2704-00-100424 03/08/00 06/29/01 44215188317 02/13/99 12/27/99
2704-00-100452 02/14/00 06/08/01 44215143429 01/09/99 11/19/99
2704-00-100619 03/09/00 05/21/01 44215188226 02/13/99 12/27/99
2704-00-100620 03/09/00 05/21/01 44215188259 02/13/99 12/27/99
2704-00-100621 03/09/00 05/21/01 44215188317 02/13/99 12/27/99
2704-00-100765 03/20/00 05/21/01 44215197490 02/22/99 01/07/00
2704-00-100767 03/20/00 05/21/01 44215197680 02/23/99 01/07/00
2704-00-100768 03/20/00 06/12/01 44215205590 02/27/99 01/07/00
2704-00-100854 03/30/00 06/29/01 44215191048 02/19/99 01/03/00
2704-00-100854 03/30/00 06/29/01 44215205541 03/01/99 01/14/00
2704-00-100854 03/30/00 06/29/01 44215221571 03/13/99 01/21/00
2704-00-100854 03/30/00 06/29/01 44215222124 03/13/99 01/21/00
2704-00-100854 03/30/00 06/29/01 44215228048 03/20/99 01/28/00
2704-00-100854 03/30/00 06/29/01 44215228097 03/22/99 02/04/00
2704-00-100854 03/30/00 06/29/01 44215252238 04/10/99 02/18/00
2704-00-100854 03/30/00 06/29/01 44215260934 04/17/99 02/25/00
2704-00-100854 03/30/00 06/29/01 44215271576 05/25/99 03/10/00
2704-00-100854 03/30/00 06/29/01 44215271618 04/25/99 03/10/00
2704-00-100854 03/30/00 06/29/01 44215272244 04/26/99 03/10/00
2704-00-100854 03/30/00 06/29/01 44215279124 05/01/99 03/10/00
2704-00-100892 04/03/00 05/21/01 44215244391 04/03/99 02/11/00
2704-00-100893 04/03/00 05/21/01 44215235282 03/27/99 02/04/00
2704-00-101024 04/17/00 06/12/01 44215271576 05/25/99 03/10/00
2704-00-101025 04/17/00 06/12/01 44215272244 04/26/99 03/10/00
2704-00-101328 05/18/00 06/12/01 44215285808 05/08/99 03/17/00
2704-00-101329 05/18/00 06/12/01 44215285865 05/10/99 03/24/00
2704-00-101454 06/05/00 06/29/01 44215279090 05/03/99 03/17/00
2704-00-101454 06/05/00 06/29/01 44215293117 05/19/99 03/31/00
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District Director of Customs,
U.S. Customs District Office
300 South Ferry Street

If the port of entry shown above is different
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Serko & Simon Document Number: 931556
Case 1:01-cv-00879-JAR Document1 Filed 10/15/01 Page 4 of 10

Page 2 SCHEDULE OF DENIED PROTESTS 10/12/01
Port of Entry:2704-LA-LB SEAPORT

Importer: MITZI INTERNATIONAL

Protest # Date Filed Date Denied Bntry Number Entry Date Liquidated
2704-00-101454 06/05/00 06/29/01 44215301159 05/19/99 03/31/00
2704-00-101454 06/05/00 06/29/01 44215313832 05/29/99 04/07/00
2704-00-101454 06/05/00 06/29/01 44215319557 06/02/99 04/14/00
2704-00-101454 06/05/00 06/29/01 44215320472 06/09/99 04/21/00
2704-00-101454 06/05/00 06/29/01 44215323880 06/07/99 04/21/00
2704-00-101454 06/05/00 06/29/01 44215329168 06/09/99 04/21/00
2704-00-101454 06/05/00 06/29/01 44215329499 06/12/99 04/21/00
2704-00-101454 06/05/00 06/29/01 44215330620 06/14/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215335793 06/15/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215336577 06/14/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215336601 06/16/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215337039 06/14/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215337211 06/21/99 05/05/00
2704-00-101454 06/05/00 06/29/01 44215338391 06/19/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215341262 06/19/99 04/28/00
2704-00-101454 06/05/00 06/29/01 44215345917 06/21/99 05/05/00
2704-00-101454 06/05/00 06/29/01 44215347871 06/23/99 05/05/00
2704-00-101454 06/05/00 06/29/01 44215347897 06/23/99 05/05/00
2704-00-101454 06/05/00 06/29/01 44215351014 06/26/99 05/05/00
2704-00-101454 06/05/00 06/29/01 44215351089 06/28/99 05/12/00
2704-00-101454 06/05/00 06/29/01 44215353929 06/29/99 05/12/00
2704-00-101454 06/05/00 06/29/01 44215358159 07/06/99 05/19/00
2704-00-101492 06/08/00 06/12/01 44215301431 05/22/99 03/31/00
2704-00-101805 06/28/00 05/30/01 44215320472 06/09/99 04/21/00
2704-00-101809 06/29/00 05/30/01 44215336577 06/14/99 04/28/00
2704-00-101810 06/29/00 05/30/01 44215336601 06/16/99 04/28/00
2704-00-101897 07/17/00 05/30/01 44215337211 06/21/99 05/05/00
2704-00-101899 07/17/00 05/30/01 44215358159 07/06/99 05/19/00
2704-00-102088 08/07/00 05/30/01 44215422120 08/21/99 06/30/00
2704-00-102090 08/07/00 06/08/01 44215418896 08/16/99 06/30/00
2704-00-102092 08/07/00 05/30/01 44215415934 08/14/99 06/23/00
2704-00-102093 08/07/00 05/30/01 44215415850 08/14/99 06/23/00
2704-00-102206 08/21/00 05/30/01 44215423094 08/23/99 07/07/00
2704-00-102207 08/21/00 05/30/01 44215435932 08/28/99 07/07/00
2704-00-102208 08/21/00 05/30/01 44215435965 08/28/99 07/07/00
2704-00-102209 08/21/00 05/30/01 44215455419 09/14/99 07/28/00
2704-00-102210 08/21/00 05/30/01 44215459783 09/18/99 07/28/00
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District Director of Customs,
U.S. Customs District Office
300 South Ferry Street

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Case 1:01-cv-00879-JAR Document1 Filed 10/15/01 Page 5 of 10

Page 3 SCHEDULE OF DENIED PROTESTS 10/12/01
Port of Entry:2704-LA-LB SEAPORT

Importer: MITZI INTERNATIONAL

Protest # Date Filed Date Denied Entry Number Entry Date Liquidated
2704-00-102530 09/15/00 06/28/01 44215412295 08/10/99 06/23/00
2704-00-102530 09/15/00 06/28/01 44215412873 08/10/99 06/23/00
2704-00-102530 09/15/00 06/28/01 44215437417 08/28/99 07/07/00
2704-00-102530 09/15/00 06/28/01 44215444967 09/05/99 07/21/00
2704-00-102530 09/15/00 06/28/01 44215444975 09/05/99 07/21/00
2704-00-102530 09/15/00 06/28/01 44215444983 09/05/99 07/21/00
2704-00-102530 09/15/00 06/28/01 44215455385 09/14/99 07/28/00
2704-00-102530 09/15/00 06/28/01 44215459809 09/20/99 08/04/00
2704-00-102530 09/15/00 06/28/01 44215476589 09/27/99 08/11/00
2704-00-102530 09/15/00 06/28/01 44215477801 09/27/99 08/11/00
2704-00-102530 09/15/00 06/28/01 44215478676 09/27/99 08/11/00
2704-00-102530 09/15/00 06/28/01 44215483783 10/05/99 08/18/00
2704-00-102553 09/19/00 05/30/01 44215478676 09/27/99 08/11/00
2704-00-102554 09/19/00 05/30/01 44215483668 10/03/99 08/18/00
2704-00-102555 09/19/00 05/30/01 44215483809 10/06/99 08/18/00
2704-00-102556 09/19/00 05/30/01 44215492743 10/12/99 08/25/00
2704-00-102802 10/13/00 05/30/01 44215513761 10/25/99 09/08/00
2704-00-102803 10/13/00 05/30/01 44215502236 10/18/99 09/01/00
2704-01-102084 01/01/01 08/21/01 44215081546 11/17/98 10/01/99
2704-98-101360 08/03/98 06/05/01 44214540310 08/15/97 06/26/98
2704-98-101361 08/03/98 06/05/01 44214540294 08/15/97 06/26/98
2704-98-101362 08/03/98 06/05/01 44214549113 08/22/97 07/06/98
2704-98-101363 08/03/98 06/07/01 44214549121 08/22/97 07/06/98
2704-98-101364 08/03/98 06/05/01 44214558361 08/29/97 07/10/98
2704-98-101365 08/03/98 06/07/01 44214558858 08/29/97 07/10/98
2704-98-101511 08/17/98 06/14/01 44214567552 09/05/97 07/17/98
2704-98-101512 08/17/98 06/14/01 44214567586 09/05/97 07/17/98
2704-98-101513 08/17/98 06/14/01 44214567594 09/05/97 07/17/98
2704-98-101514 08/17/98 06/14/01 44214576306 09/12/97 07/24/98
2704-98-101515 08/17/98 06/14/01 44214587188 09/19/97 07/31/98
2704-98-102082 10/16/98 06/07/01 44214617118 10/12/97 08/28/98
2704-98-102083 10/16/98 06/06/01 44214617126 10/11/97 08/21/98
2704-98-102084 10/16/98 06/06/01 44214621938 10/17/97 08/28/98
2704-98-102300 11/09/98 04/20/01 44214650366 11/07/97 09/18/98
2704-98-102301 11/09/98 04/20/01 44214640235 11/03/97 09/18/98
2704-98-102302 11/09/98 04/20/01 44214633461 10/26/97 09/11/98
2704-98-102303 11/09/98 04/20/01 44214633479 10/26/97 09/11/98
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District Director of Customs,
U.S. Customs District Office
300 South Ferry Street

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Page 4 SCHEDULE OF DENIED PROTESTS 10/12/01
Port of Entry:2704-LA-LB SEAPORT

Importer: MITZI INTERNATIONAL

Protest # Date Filed Date Denied Entry Number Entry Date Liquidated
2704-98-102304 11/09/98 04/20/01 44214649319 11/07/97 09/18/98
2704-98-102305 11/09/98 04/20/01 44214650556 11/07/97 09/18/98
2704-98-102503 11/27/98 06/14/01 44259543369 11/28/97 10/09/98
2704-98-102514 11/27/98 06/07/01 44214682377 12/12/97 10/23/98
2704-98-102515 11/27/98 06/07/01 44214663492 11/21/97 10/02/98
2704-98-102516 11/27/98 06/07/01 44214658468 11/14/97 09/25/98
2704-98-102517 11/27/98 06/07/01 44214658450 11/14/97 09/25/98
2704-98-102518 11/27/98 06/07/01 44214658443 11/14/97 09/25/98
2704-99-100209 01/19/99 06/08/01 44214698266 12/26/97 11/06/98
2704-99-100266 01/25/99 06/08/01 44214705913 01/02/98 11/13/98
2704-99-100267 01/25/99 06/08/01 44214705921 01/02/98 11/13/98
2704-99-100574 03/01/99 04/18/01 44214744144 02/06/98 12/18/98
2704-99-100768 03/22/99 06/07/01 44214772905 03/07/98 01/15/99
2704-99-100769 03/22/99 06/07/01 44214789271 03/21/98 01/29/99
2704-99-100770 03/22/99 06/05/01 44214803577 04/04/98 02/12/99
2704-99-100771 03/22/99 05/08/01 44214813170 04/11/98 02/19/99
2704-99-100995 04/15/99 06/05/01 44214813113 04/13/98 02/26/99
2704-99-100996 04/16/99 06/07/01 44214779918 03/14/98 03/05/99
2704-99-100997 04/15/99 06/05/01 44214820258 04/18/98 02/26/99
2704-99-100998 04/15/99 06/05/01 44214828368 04/25/98 03/05/99
2704-99-100999 04/15/99 06/07/01 44214828533 04/25/98 03/05/99
2704-99-101000 04/15/99 06/07/01 44214836510 05/02/98 03/12/99
2704-99-101448 06/04/99 04/19/01 44214844944 05/11/98 03/26/99
2704-99-101449 06/04/99 04/19/01 44214851808 05/16/98 03/26/99
2704-99-101450 06/04/99 04/19/01 44214851782 05/16/98 03/26/99
2704-99-101451 06/04/99 04/19/01 44214851592 05/15/98 03/26/99
2704-99-101452 06/04/99 04/19/01 44214844985 05/09/98 03/19/99
2704-99-101541 06/16/99 04/19/01 44214858373 05/26/98 04/09/99
2704-99-101542 06/16/99 04/19/01 44214836866 05/05/98 04/23/99
2704-99-101543 06/16/99 04/18/01 44214858340 05/23/98 04/02/99
2704-99-101544 06/16/99 04/18/01 44214858365 05/24/98 04/09/99
2704-99-101545 06/16/99 04/18/01 44214859223 05/23/98 04/02/99
2704-99-101546 06/16/99 04/18/01 44214865709 05/30/98 04/09/99
2704-99-101547 06/16/99 04/18/01 44214865717 05/30/98 04/09/99
2704-99-101548 06/16/99 04/18/01 44214865733 05/30/98 04/09/99
2704-99-101549 06/16/99 04/18/01 44214865741 05/30/98 04/09/99
2704-99-101550 06/16/99 04/18/01 44214873992 06/06/98 04/16/99
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District Director of Customs,
U.S. Customs District Office
300 South Ferry Street

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Page 5 SCHEDULE OF DENIED PROTESTS 10/12/01
Port of Entry:2704-LA-LB SEAPORT

Importer: MITZI INTERNATIONAL

Protest # Date Filed Date Denied Entry Number Entry Date Liquidated
2704-99-101551 06/16/99 04/19/01 44214874065 06/06/98 04/16/99
2704-99-101552 06/16/99 04/19/01 44214882118 06/13/98 04/23/99
2704-99-101673 06/28/99 04/18/01 44214901033 06/30/98 05/14/99
2704-99-101678 06/28/99 04/18/01 44214890715 06/20/98 04/30/99
2704-99-101679 06/28/99 04/18/01 44214901074 06/27/98 05/07/99
2704-99-101680 06/28/99 04/18/01 44214906958 07/04/98 05/14/99
2704-99-101681 06/28/99 04/18/01 44214906966 07/04/98 05/14/99
2704-99-101682 06/28/99 04/18/01 44214890673 06/20/98 04/30/99
2704-99-101935 07/26/99 05/21/01 44214914135 07/11/98 05/21/99
2704-99-101936 07/26/99 05/21/01 44214922583 07/18/98 05/28/99
2704-99-101937 07/26/99 05/21/01 44214922591 07/18/98 05/28/99
2704-99-101938 07/26/99 05/21/01 44214914127 07/10/98 05/21/99
2704-99-101939 07/26/99 05/21/01 44214923524 07/22/98 06/04/99
2704-99-102175 08/16/99 05/30/01 44214949073 08/10/98 06/25/99
2704-99-102186 08/16/99 05/30/01 44214934935 07/28/98 06/11/99
2704-99-102285 08/24/99 05/29/01 44214978957 08/29/98 07/09/99
2704-99-102286 08/24/99 05/29/01 44214978965 08/29/98 07/09/99
2704-99-102523 09/15/99 06/14/01 44214949073 08/10/98 06/25/99
2704-99-102523 09/15/99 06/14/01 44214978965 08/29/98 07/09/99
2704-99-102523 09/15/99 06/14/01 44214988220 09/05/98 07/16/99
2704-99-102523 09/15/99 06/14/01 44214988261 09/05/98 07/16/99
2704-99-102523 09/15/99 06/14/01 44214994541 09/13/98 07/30/99
2704-99-102523 09/15/99 06/14/01 44215003003 09/21/98 08/06/99
2704-99-102523 09/15/99 06/14/01 44215013960 09/26/98 08/06/99
2704-99-102523 09/15/99 06/14/01 44215016898 10/01/98 08/13/99
2704-99-102523 09/15/99 06/14/01 44215021385 10/03/98 08/13/99
2704-99-102876 10/18/99 05/18/01 44214994541 09/13/98 07/30/99
2704-99-102878 10/18/99 05/18/01 44215013960 09/26/98 08/06/99
2704-99-102925 10/25/99 05/21/01 44215021385 10/03/98 08/13/99
2704-99-102926 10/25/99 05/21/01 44215016898 10/01/98 08/13/99
2704-99-103010 11/04/99 05/21/01 44215030402 10/11/98 08/27/99
2704-99-103013 11/04/99 05/21/01 44215042019 10/17/98 08/27/99
2704-99-103014 11/04/99 05/21/01 44215042027 10/17/98 08/27/99
2704-99-103121 11/09/99 05/18/01 44215050574 10/24/98 09/03/99
2704-99-103259 12/14/99 07/24/01 44215068386 11/09/98 09/24/99
2704-99-103259 12/14/99 07/24/01 44215068485 11/10/98 09/24/99
2704-99-103259 12/14/99 07/24/01 44215118991 12/21/98 11/05/99
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District Director of Customs,
U.S. Customs District Office
300 South Ferry Street

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page of the summons, the address of the
District Director for such different port of
Terminal Island, CA 90731 entry must be given in the space provided.

Serko & Simon Document Number: 931556
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Page 6 SCHEDULE OF DENTED PROTESTS 10/12/01
Port of Entry:2704-LA-LB SEAPORT

Importer: MITZI INTERNATIONAL

Protest # Date Filed Date Denied Entry Number Entry Date Liguidated
2704-99-103259 12/14/99 07/24/01 44215119007 12/19/98 10/31/99
2704-99-103259 12/14/99 07/24/01 44215119031 12/19/98 10/29/99
2704-99-103261 11/24/99 05/21/01 44215059922 11/01/98 09/17/99
2704-99-103399 12/10/99 05/18/01 44215068386 11/09/98 09/24/99
2704-99-103400 12/10/99 05/18/01 44215068485 11/10/98 09/24/99
2704-99-103550 12/15/99 05/21/01 44215086099 11/23/98 10/08/99
2704-99-103647 12/30/99 05/21/01 44215110071 12/14/98 10/29/99

Number of Lines Printed: 192

If the port of entry shown above is different
from the port of entry shown on the first
page of the summons, the address of the
District Director for such different port of
entry must be given in the space provided.

District Director of Customs,
U.S. Customs District Office
300 South Ferry Street

Terminal Island, CA 90731

Serko & Simon Document Number: 931556
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Page 1 SCHEDULE OF DENIED PROTESTS 10/12/01
Port of Entry:2720-Los Angeles Airport

Importer: MITZI INTHRNATIONAL

Protest # Date Filed Date Denied Entry Number Entry Date Liquidated
2720-00-100034 01/18/00 09/25/01 44220395329 12/24/98 11/05/99
2720-00-100294 06/08/00 09/26/01 44220464406 06/02/99 04/14/00
2720-00-100380 06/30/00 09/26/01 44220472755 06/17/99 04/28/00
2720-99-100446 06/23/99 09/24/01 44220304263 06/03/98 04/16/99
2720-99-100498 07/15/99 09/24/01 44220310203 06/17/98 04/30/99
2720-99-100499 07/15/99 09/24/01 44220313975 06/29/98 05/14/99
2720-99-100698 10/18/99 09/24/01 44220349185 09/15/98 07/30/99
2720-99-100720 10/26/99 09/25/01 44220355620 09/29/98 08/13/99
2720-99-100721 10/26/99 09/25/01 44220355638 09/29/98 08/13/99
2720-99-100722 10/26/99 09/25/01 44220355653 09/29/98 08/13/99
2720-99-100781 11/26/99 09/25/01 44220371361 11/02/98 09/17/99
2720-99-100809 12/10/99 09/25/01 DX509838711 11/09/98 09/24/99
2720-99-100810 12/10/99 09/25/01 DX509838885 11/12/98 09/24/99
Number of Lines Printed: 13

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District Director of Customs,
U.S. Customs Int'l Airport
11099 La Cienega Blvd

If the port of entry shown above is different
from the port of entry shown on the first
page of the summons, the address of the
District Director for such different port of
entry must be given in the space provided.

Los Angeles CA 90045

Serko & Simon Document Number: 931556
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